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                                                                                                             FOIA SummRQs
                                                                                                             1/1



                                          UNITED STATES DISTRICT COURT
                                          FOR THE DISTRICT OF COLUMBIA


           Center for Biological Diversity
                                                           )
                          Plaintiff                        )
                                                           )
                 v.                                        )            Civil Action No.
      Federal Emergency Management Agency                  )
                                                           )
                          Defendant                        )



                                             SUMMONS IN A CIVIL ACTION

To:      (Defendant’s name and address)
                                          Federal Emergency Management Agency
                                          500 C Street, SW
                                          Washington, DC 2005




         A lawsuit has been filed against you.

        Within 30 days after service of this summons on you (not counting the day you received it) you must
serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of
Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:
                         Howard M. Crystal
                         Center for Biological Diversity
                         1411 K Street N.W., Suite 1300
                         Washington, D.C., 20005
                         Telephone: (202) 809-6926
                         email: hcrystal@biologicaldiversity.org



      If you fail to respond, judgment by default may be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.



                                                                   ANGELA D. CAESAR, CLERK OF COURT



Date:
                                                                        Signature of Clerk or Deputy Clerk
                       Case 1:23-cv-00011-RCL Document 1-2 Filed 01/04/23 Page 2 of 2

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                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          7KLVVXPPRQVIRU(name of individual and title, if any)
ZDVUHFHLYHGE\PHRQ(date)                                        

          u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                              RQ(date)                          RU

          u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                           DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
          RQ(date)                           DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

          u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                  ZKRLV
          GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                              RQ(date)                          RU

          u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                          RU

          u 2WKHU(specify):
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'DWH
                                                                                     Server’s signature



                                                                                   Printed name and title




                                                                                      Server’s address

$GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
